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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                       CRIMINAL NUMBER:
       Plaintiff,
                                                       1:18-cr-00032-DLF
v.

INTERNET RESEARCH AGENCY LLC, et
al.,

       Defendants.


  DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S MOTION
   PURSUANT TO RULE 6(e)(3)(E)(ii) FOR IN CAMERA INSPECTION OF LEGAL
INSTRUCTIONS PROVIDED TO THE GRAND JURY REGARDING COUNT ONE OF
                            THE INDICTMENT

       Pursuant to Federal Rule of Criminal Procedure 6(e)(3)(E)(ii), Defendant Concord

Management and Consulting LLC (hereinafter “Concord” or “Defendant”), by counsel,

respectfully moves for an in camera inspection of the legal instructions provided to the grand

jury regarding Count One of the Indictment. For the reasons set forth below, Defendants seek

this relief in order to determine whether the instructions provided could support a motion to

dismiss Count One of the Indictment.

       I.      Introduction

       The Court is well aware that heretofore investigations of alleged improper foreign

involvement in American elections have been handled by the United States Department of

Justice (“DOJ”); specifically the Campaign Finance Task Force created by former Attorney

General Reno in 1997, and where the Court worked as a prosecutor from September 1997 to

August 1998. Former Attorney General Reno refused to bow to massive political pressure to

appoint a special counsel, and instead the Task Force methodically investigated and prosecuted



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cases through 2000.1 Throughout all of that activity, the DOJ never brought any case like the

instant Indictment, that is, an alleged conspiracy by a foreign corporation to “interfere” in a

Presidential election by allegedly funding free speech. The obvious reason for this is that no

such crime exists in the federal criminal code.

           Now, some twenty years later, the Deputy Attorney General acting for the recused

Attorney General has rejected the history and integrity of the DOJ, and instead licensed a Special

Counsel who for all practical political purposes cannot be fired, to indict a case that has

absolutely nothing to do with any links or coordination between any candidate and the Russian

Government.2 The reason is obvious, and is political: to justify his own existence the Special

Counsel has to indict a Russian – any Russian.3 Different from any election case previously

brought by the DOJ, the Special Counsel used the catch-all provision of the federal criminal

code, the defraud prong of conspiracy, 18 U.S.C. § 371, to allege that a foreign corporate

defendant with no presence in the United States and having never entered the United States,

engaged in the make-believe crime of conspiring to “interfere” in a United States election.

Indictment, Dkt. 1, ¶ 2. Presumably to bolster these allegations (which have a strong odor of

hypocrisy)4, the Special Counsel has pleaded around the knowledge requirements of all related


1
  See Ex. A, Thai Businesswomen Agree to Plead Guilty to Campaign Financing Charges, June 21, 2000,
https://www.justice.gov/archive/opa/pr/2000/June/350crm.htm (listing cases brought by the Task Force).
2
  Ex. B, Rosenstein: “No Allegation in This Indictment That Any American Had Any Knowledge” of Russian
Election       Influence        Operation,      Real       Clear      Politics,     Feb.      16,      2018,
https://www.realclearpolitics.com/video/2018/02/16/watch_live_deputy_ag_rod_rosenstein_announcement.html.
3
    See Casablanca (1942) (Captain Renault states, “Major Strassor has been shot. Round up the usual suspects.”)
4
  Between 1946 and 2000, the United States and its agents interfered in many global elections for the purpose of
influencing foreign voters to elect candidates favorable to the United States. See Ex. C, Database Tracks History of
U.S.      Meddling       in    Foreign      Elections,     National     Public      Radio,     Dec.      22,     2016,
https://www.npr.org/2016/12/22/506625913/database-tracks-history-of-u-s-meddling-in-foreign-elections.          When
that interference failed, on occasion the United States directed and/or participated in the removal of elected foreign
leaders.      See, e.g., Ex. D, CIA Admits Involvement in Chile, ABC News, Sept. 20, 2000,
https://abcnews.go.com/International/story?id=82588&page=1 (describing declassified report explaining U.S.
involvement in 1973 coup d’état in Chile resulting in the removal and death of democratically elected President
Salvador Allende); Ex. E, In declassified document, CIA acknowledges role in ’53 Iran coup, CNN, Aug. 19, 2013,

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substantive statutes and regulations by asserting that Concord conspired to obstruct the functions

of the United States Departments of Justice (“DOJ”) and State (“DOS”), and the Federal Election

Commission (“FEC”).5 But violations of the relevant federal campaign laws and foreign agent

registration requirements administered by the DOJ and the FEC require the defendant to have

acted “willfully,” a word that does not appear anywhere in Count One of the Indictment. See 52

U.S.C. § 30109(d) and 22 U.S.C. § 618(a).6

        This sleight-of-hand does not relieve the Special Counsel from the requirement that the

indictment contain all of the elements of the offense charged. See Russell v. United States, 369

U.S. 749, 763 (1962). As such, Count One of the Indictment appears to be facially invalid

because it fails to charge an essential element of the offense of conspiracy to defraud the United

States by impairing, obstructing and defeating the functions of the FEC and the DOJ, that is, that

the Defendant acted willfully, in this case meaning that Defendant was aware of the FEC and

FARA requirements, agreed to violate those requirements, and ultimately acted with intent to

violate those requirements. See United States v. Pickett, 353 F.3d 62, 67 (D.C. Cir. 2004)

(dismissing indictment that tracked only part of the statutory language). The absence of the word

“willfully” in Count One of the Indictment establishes that Defendant has a particularized need

to obtain the limited relief sought, that is, an in camera inspection of the legal instructions the

Special Counsel provided to the grand jury. With that information, the Court can determine



https://www.cnn.com/2013/08/19/politics/cia-iran-1953-coup/index.html (explaining U.S. involvement in coup
d’état in Iran resulting in the removal of democratically elected Prime Minister Mohammad Mosaddegh).
5
  Count One of the Indictment is devoid of any specificity about what any officer or employee of Concord actually
did other than to generally allege that Concord funded an “Organization” that the Special Counsel imagined and
created. See Indictment at ¶¶ 2, 3. It is not clear whether the Indictment alleges that Concord was part of the
“Organization.” See Indictment ¶ 2.
6
  To make matters worse, the Special Counsel omitted from Count One any citation to any federal campaign or
registration statute or regulations, leaving a foreign corporation with no knowledge of these complex and arcane
provisions to figure it out. See Indictment ¶¶ 7, 9, 25, 26.

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whether those instructions could support a motion to dismiss the facially invalid Count One of

the Indictment.

       II.     Statement of Facts

       Defendant Concord is charged in a single count with knowingly and intentionally

conspiring to defraud the United States “ . . . by impairing, obstructing and defeating the lawful

functions of the Federal Election Commission, the U.S. Department of Justice and the U.S.

Department of State in administering federal requirements for disclosure of foreign involvement

in certain domestic activities.” Indictment ¶ 9. The Indictment asserts that the lawful functions

involved were: (1) the FEC’s authority to require certain disclosures, (2) the DOJ’s authority to

require certain persons to register as foreign agents, and (3) the DOS’s authority over issuance of

travel visas. See id. ¶¶ 7, 9 and 25-28. The mens rea alleged in Count One is “knowingly and

intentionally.” Id. ¶ 9.

       III.    Statement of the Law and Argument

               A.      Disclosure of Grand Jury Materials

       To obtain disclosure of grand jury materials a defendant must show a particularized need;

specifically, that the material is needed to avoid possible injustice in a judicial proceeding, the

need to disclose outweighs the need for continued secrecy, and the request is structured to cover

only what is needed. See United States v. Proctor & Gamble, 356 U.S. 677, 682-83 (1958).

With regard to legal instructions provided to the grand jury, the Defendant must identify facts

which raise doubts to the accuracy of the instructions. See United States v. Stevens, 771 F. Supp.

2d 556, 567 (D. Md. 2011) (“. . . where a prosecutor’s legal instruction to the grand jury

seriously misstates the applicable law, the indictment is subject to dismissal if the misstatement

casts ‘grave doubt that the decision to indict was free from the substantial influence’ of the

erroneous instruction.” (quoting United States v. Peralta, 763 F. Supp. 14, 21 (S.D.N.Y. 1991)).

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A court may authorize disclosure of a grand jury matter at the request of a defendant who shows

that a ground may exist to dismiss the indictment because of a matter that occurred before the

grand jury. See Fed. R. Crim. P. 6(e)(3)(E)(ii). See also United States v. Naegele, 367 B.R. 15,

17 (D.D.C. 2007) (finding a particularized need for in camera inspection of grand jury

transcripts). But see United States v. Singhal, 876 F. Supp. 2d 82, 98-99 (D.D.C. 2012); United

States v. Espy, 23 F. Supp. 2d 1, 10 (D.D.C. 1998); and United States v. Trie, 23 F. Supp. 2d 55,

62 (D.D.C. 1998) (finding no particularized need for disclosure of grand jury instructions where

the indictment is facially valid).

                     B.       Mens Rea Requirement for Violation of Count One7

           As best as the Defendant can determine from Count One of the Indictment, the Special

Counsel appears, at least in part, to believe that the Defendant either failed to disclose or caused

the failure to disclose funding for certain electioneering communications to the FEC as required

by 52 U.S.C. § 30104(f).8 See Indictment ¶¶ 7, 11. A violation of this statute requires that the

defendants acted “knowingly and willfully.” See 52 U.S.C. § 30109(d). The Department of

Justice has stated unequivocally that in using 18 U.S.C. § 371 to allege a conspiracy to defraud

the FEC, the government must prove that: (1) the defendant was aware that his or her conduct

was generally unlawful, and (2) that the defendant intended to disrupt and impede the lawful

functioning of the FEC. See Dep’t of Justice, Federal Prosecution of Election Offenses 162-163

(December 2017), https://www.justice.gov/criminal/file/1029066/download. The Department of

Justice conceded that this is arguably an even a higher burden than the “knowingly and willfully”

mental state required by Section 30109(d) itself. Id. See also Bluman v. Federal Election


7
    Defendant intends to fully brief this issue in its motion to dismiss the Indictment.
8
  There is a serious question about whether the provisions contained in 52 U.S.C. § 30104(f) applied to Concord in
this case. That question will be addressed in a motion to dismiss the Indictment.

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Commission, 800 F. Supp. 2d 281, 292 (D.D.C. 2011) (three judge panel of the district court

warning the Department of Justice that seeking criminal penalties against foreign nationals for

making certain prohibited campaign expenditures will require proof of the defendant’s

knowledge of the law); Ex. F, Indictment at ¶ 10, United States v. Hsia, No. 98-cr-0057 (D.D.C.

Feb. 18, 1998) (charging that defendant acted “knowingly and willfully” in conspiring to defraud

the FEC).9 See also United States v. Curran, 20 F.3d 560, 571 (3d Cir. 1994) (in a case

involving conspiracy to defraud the Federal Election Commission, finding an instruction that

contained the word “willfully” to be deficient and requiring a jury instruction that the jury must

find defendant agreed to commit an unlawful act combined with intent to commit the underlying

offense).

        The same burden exists under the Foreign Agents Registration Act to prove willfulness.

See 22 U.S.C. § 618(a); Dep’t of Justice, FARA Enforcement, www.justice.gov/nsd-fara/fara-

enforcement.10

                 C.       The Indictment Fails to Allege Defendant Acted “Willfully,” and As
                          Such In Camera Inspection is Necessary and Proper

        All criminal defendants have a Fifth Amendment right to be tried on an indictment by a

grand jury. See United States v. Hillie, 227 F. Supp. 3d 57, 77-78 (D.D.C. 2017). While there is

case law to support the argument that some Section 371 conspiracies to defraud do not require

proof of the mens rea required for related substantive offenses, see, e.g., United States v.

Childress, 58 F.3d 693, 708 (D.C. Cir. 1995), the law relating to such conspiracies which are


9
 In United States v. Moore, 612 F.3d 698, 703 (D.C. Cir. 2010), Circuit Judge Kavanaugh in his concurring opinion
noted that Supreme Court case law is clear that statutes prohibiting some regulatory offenses require proof that the
defendant was aware that the conduct was unlawful.
10
  There is also serious doubt about whether FARA applied to Concord, and whether the Special Counsel is claiming
that Concord was required to register as a foreign agent. The same is true with respect to the allegations about
obtaining visas through false and fraudulent statements. Those questions will also be addressed in a subsequent
motion to dismiss.

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based on complex regulatory offenses allows less leeway. See Section III.B above. The instant

Indictment fails to allege that the Defendant knew it was acting unlawfully and that it intended to

violate the underlying regulatory offenses.

           The risk here is acute, that is, a foreign corporation with no presence in the United States

is indicted in an unprecedented case of a type never before brought by the DOJ for conspiring to

defraud the United States purportedly by not complying with certain regulatory requirements that

are unknown even to most Americans. Under these limited circumstances the Court should

conduct an in camera review of the legal instructions provided to the grand jury to determine

whether or not they include information that would support a motion to dismiss the indictment.

See United States v. Hoey, No. 11-cr-337, 2014 WL 2998523, at *3 (S.D.N.Y. July 2, 2014)

(granting motion for in camera review of grand jury legal instructions where defendant “has

come forward with more than mere speculation that the grand jury did not receive the proper

instructions” on the causation element that would trigger a mandatory minimum sentence). See

also Stevens, 771 F. Supp. 2d at 566-68 (dismissing indictment where the government “seriously

misstate[d] the applicable law” to the grand jury); United States v. Bowling, 108 F. Supp. 3d 343,

352-53 (E.D.N.C. 2015) (concluding that “the government’s erroneous legal instruction to the

grand jury concerning the Procurement Integrity Act played a significant and impermissible role

in the grand jury’s decision to indict defendants…”).

           IV.      The Proposed Relief11

           Defendant Concord is seeking the narrowest of relief, simply that the Court conduct an in

camera inspection of the legal instruction the Special Counsel provided to the grand jury with

respect to Count One of the Indictment. If the Court determines that the Special Counsel did not


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     Nothing in this filing should be construed as an admission that Concord committed any of the alleged activities.

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provide a complete and accurate mens rea instruction then the instruction should be disclosed to

the Defendant because there may be grounds to dismiss Count One of the Indictment on that

basis.

         V.      The Special Counsel’s Position on Defendant’s Motion is Unknown

         The Special Counsel has not responded to undersigned counsel’s April 19, 2018 request

for its position regarding Defendant’s instant motion.

Dated: May 14, 2018                                 Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING, LLC

                                                    By Counsel

                                                    /s/Eric A. Dubelier

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of May 2018, the foregoing was electronically filed

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) all counsel of record registered with the CM/ECF system.


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